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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

___________________________________________
                                            )
SECURITIES AND EXCHANGE COMMISSION, )
                                            )
                  Plaintiff,                )
                                            )
      v.                                    )                Civil Action No. 19-11676-NMG
                                            )
TANMAYA KABRA, a/k/a TAN KABRA, and         )
LAUNCHBYTE.IO, LLC a/k/a                    )
THE KABRA GROUP, LLC,                       )
                                            )
                  Defendants.               )
                                            )
___________________________________________ )


                                [Proposed]
           FINAL JUDGMENT AS TO DEFENDANT LAUNCHBYTE.IO, LLC

       The Securities and Exchange Commission having filed a Complaint and Defendant

Launchbyte.io, LLC a/k/a The Kabra Group, LLC (“Defendant”) having entered a general

appearance; consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Final Judgment without admitting or denying the allegations of

the Complaint (except as to jurisdiction and except as otherwise provided herein in paragraph

IV) waived findings of fact and conclusions of law; and waived any right to appeal from this

Final Judgment:

                                                I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of


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interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.



        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements



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               made, in light of the circumstances under which they were made, not misleading;

               or

       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.


                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).



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                                                     V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.



Dated: ______________, _____

                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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